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                                No. 20-CV-211-JED-JFJ
         __________________________________________________________________


                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

         __________________________________________________________________

                       DCCC and OKLAHOMA DEMOCRATIC PARTY,
                                      Plaintiffs,
                                               vs.

   PAUL ZIRIAX, in his official capacity as the Secretary of the Oklahoma State Election Board;
    TOM MONTGOMERY, in his official capacity as Chairman of the Oklahoma State Election
   Board; DR. TIM MAULDIN, in his official capacity as Vice-Chairman of the Oklahoma State
     Election Board; HEATHER MAHIEU CLINE, in her official capacity as a member of the
    Oklahoma State Election Board; JERRY BUCHANAN, in his official capacity as an alternate
   member of the Oklahoma State Election Board; and DEBI THOMPSON, in her official capacity
                  as an alternate member of the Oklahoma State Election Board,
                                           Defendants.
         __________________________________________________________________

        PLAINTIFFS’ MOTION AND MEMORANDUM IN SUPPORT OF MOTION FOR
                             PRELIMINARY INJUNCTION
         __________________________________________________________________

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   August 19, 2020
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                   INTRODUCTION AND SUMMARY OF THE ARGUMENT

          When the pandemic began, Oklahoma was one of only three states that required absentee

   ballots be notarized. On May 4, as the State surpassed 4,000 COVID-19 cases, the Oklahoma

   Supreme Court struck down the notary requirement in favor of a simple statement signed under

   penalty of perjury. See League of Women Voters of Okla. v. Ziriax (“LWV”), 463 P.3d 524 (Okla.

   2020). The relief afforded by the Court was short-lived. Three days later, Governor Stitt signed

   S.B. 210, which reinstated the notarization requirement subject to two limited exceptions

   applicable only during any COVID-19 State of Emergency: instead of notarization, a voter may

   (1) attach a copy of a photo ID or, (2) if “physically incapacitated” due to actively having COVID-

   19, or if at high risk for contracting the disease and subject to a stay at home order, the voter may

   have two witnesses sign their ballot.

          The Legislature’s revisions continued. On May 21, the same day Oklahoma surpassed 300

   deaths while reporting 5,680 positive virus cases, S.B. 1779 was signed into law. That bill makes

   it a crime―often a felony―simply to assist another voter in obtaining or returning an absentee

   ballot at that voter’s request. Now it suddenly is a crime for a voter to return his spouse’s sealed

   ballot when he goes to vote in person, and a friendly neighbor commits a crime if she helps an

   elderly shut-in by returning his ballot. In addition to these new restrictions, Oklahoma voters still

   had to contend with other impediments to their ability to successfully vote absentee, including the

   State’s rejection as void any ballot received after Election Day, even if the voter is not at fault for

   the delayed return, as well as the State’s refusal to prepay postage on ballot-return envelopes.

          The chilling effects of these laws became clear in the June 30th election. The absentee-

   ballot return attrition rate—which was already historically higher in Oklahoma than in neighboring

   states—worsened, as nearly 30% of ballots mailed to voters were never returned. Many that were

   returned were voided because they lacked the required witness signatures or notary stamps. In
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   total, nearly 4,500 voters were disenfranchised by absentee ballot rejections alone, and many more

   were forced to risk exposure to COVID-19 to vote in person because they had no real alternative.

   Just two weeks later, Oklahoma set a single-day record for coronavirus infections. As of this filing,

   the State has recorded nearly 50,000 positive cases and 682 Oklahomans have died.

          With the November election quickly approaching, the voting rights and safety of Oklahoma

   citizens face threats that grow worse by the day. Plaintiffs ask this Court to enjoin the following:

          •   The requirement that absentee ballots be notarized, include a photo ID copy, or be
              witnessed by two people (collectively referred to as the “Amended Notarization
              Requirements”), which force voters to interact with others when absentee voting, in
              contravention of sound medical guidance and responsible election administration.

          •   Rejecting ballots that arrive after 7 p.m. on Election Day (the “Election Day Receipt
              Deadline”), which will disenfranchise thousands of voters.

          •   Criminalizing voter assistance (the “Voter Assistance Criminalization provisions”),
              which compounds the problems in obtaining and casting ballots that will be counted.

          •   The State’s failure to prepay postage (the “Postage Requirement”) for absentee voters.

          Collectively, these restrictions burden all Oklahoma voters by making absentee voting

   more burdensome (and sometimes inaccessible) for thousands even under normal circumstances.

   But during the pandemic—when voting by mail has become the “safety net”―these provisions

   are wholly unjustifiable and will disenfranchise many thousands more Oklahoma voters. Under

   these circumstances, Plaintiffs are entitled to a preliminary injunction.

          Plaintiffs’ right to preliminary injunctive relief is demonstrated by the multiple

   declarations, including from (1) Dr. Marc Meredith, a political scientist who describes the burdens

   the challenged provisions impose on Oklahomans’ voting rights and how any state interests in

   them fall far short of outweighing the burdens; (2) Dr. Catherine Troisi, an infectious disease

   epidemiologist who explains that the COVID-19 pandemic will continue to be a significant threat

   to public health in the fall and will make the availability of absentee voting vitally important; and

                                                     2
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   (3) Ronald Stroman, the former Deputy Postmaster of USPS who describes the incompatibility

   between Oklahoma’s voting deadlines, including the Election Day Receipt Deadline, and the

   increasingly long time it takes to deliver absentee ballots through the mail—an incompatibility

   that will disenfranchise thousands of lawful Oklahoma voters unless this Court acts.

                                            BACKGROUND

   I.     THE PANDEMIC THREATENS THE NOVEMBER ELECTION.

          The novel coronavirus continues to spread, with an average of 678 cases reported per day

   in Oklahoma over the last week. Troisi ¶ 27. As of August 18th, 49,326 cases had been reported

   in Oklahoma, 682 of them resulting in death. Id. There is strong consensus among experts that the

   pandemic will continue into the fall and ever-deepening concerns about an even more difficult

   second wave. Id. ¶¶ 22, 29. Americans are urged to take extensive precautions until a vaccine is

   widely available, which will likely not be until 2021. See id. ¶¶ 17-19, 23. The CDC estimates that

   only 1% to 6.9% of the population in ten U.S. cities (none in Oklahoma) are immune. Id. ¶ 25.

          The situation in Oklahoma is dire. The testing positivity rate is at 7.6%; this high rate and

   the lack of stay-at-home orders, are likely to lead to a surge of cases. Id. ¶¶ 27, 29. Long ranked in

   the bottom 20% in terms of health status among states, Oklahoma faces heightened risks: high

   percentages of residents with pre-existing conditions that put them at high risk if infected; 16.1%

   of Oklahomans are 65 or older, a group at increased risk of death after infection; and significant

   populations of groups that are particularly vulnerable (African-Americans, 7.8% of Oklahomans;

   American Indians/Alaska Natives, 9.4%; and Asians, 2.4%). Id. ¶¶ 13–14, 28.

          Oklahoma’s high rate of community spread hangs over the upcoming November election,

   because voting in person indisputably increases the risks of contracting COVID-19. See id. ¶ 30;

   see also Common Cause R.I. v. Gorbea, No. 20-1753, 2020 WL 4579367, at *2

   (1st Cir. Aug. 7, 2020) (“Taking an unusual and in fact unnecessary chance with your life is a

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   heavy burden to bear simply to vote.”) (denying motion to stay consent judgment and decree

   suspending “notary or two-witness requirement” for mail ballots), stay denied sub nom. RNC v.

   Common Cause, No. 20A28, 2020 WL 4680151 (Aug. 13, 2020). The CDC recommends that

   voters minimize contact with others, making voting by mail vital. Troisi ¶¶ 20-21, 30-32. Indeed,

   the risk of infection from COVID-19 makes in-person voting infeasible for many. Without

   accessible and reliable mail voting, large numbers of Oklahomans will be disenfranchised.

   Meredith ¶¶ 20-21, 29, 42, 48, 51, 59-60, 61, 68, 84, 95, 97.

          Requests for absentee ballots have surged across the country, with many states going from

   less than 10% absentee voting to more than 50%. Id. ¶ 26 (Table 1). In Oklahoma, however, the

   volume continues to be strikingly low, which correlates with Oklahoma having more barriers to

   voting by mail than almost all other states. Id. Because of these barriers, many Oklahomans must

   choose between risking their health to vote in person or not voting at all. Indeed, while many other

   states have had exponential increases in absentee voting in 2020, with a majority of people voting

   by mail, only 14% of voters in Oklahoma’s June 30 primary voted absentee. Id. ¶ 25.

          But even this relatively low level of absentee voting is a marked increase for Oklahoma,

   which typically has had only about 3-4% absentee voting in prior elections. Id. For election

   officials around the country, increases in absentee voting have created many challenges. Officials

   have been overwhelmed by the volume of requests for absentee ballots; ballots have been late to

   reach voters; and the highly publicized, politically charged shortcomings of USPS have resulted

   in severe mail delays. See Stroman ¶¶ 5-6, 10, 17. Many voters have received their ballots too late

   to return them on time. Meredith ¶¶ 61-68. In Oklahoma’s June 30 primary, for example, 2,385

   ballots arrived in the mail after Election Day and were not counted. Id. ¶ 62 (Table 5). In Ohio, the

   Secretary of State reported that postal delays “as long as 7-9 days” and “in excess of 10 days”



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   jeopardized absentee voting. Id. ¶ 78. The USPS, reeling from budget cuts, staffing shortages, and

   operational delays, has cautioned that many states’ vote-by-mail systems—including

   Oklahoma’s—have deadlines that “put ballots at high risk of not being delivered to voters before

   an election.” Ex. 2 to Stroman at 6. In July, USPS started actively leaving mail behind while

   warning states that their ballot-receipt deadlines threaten voters with disenfranchisement. Meredith

   ¶ 75. In August, Oklahoma and most other states received alarming notices from USPS warning it

   cannot ensure timely deliveries of ballots in November. Stroman ¶¶ 8–18 & Ex. 3.

   II.    OKLAHOMA’S VOTE-BY-MAIL SYSTEM, AS RECENTLY AMENDED, WILL
          DISENFRANCHISE THOUSANDS OF VOTERS IN NOVEMBER.

          A.      Voting in Oklahoma before COVID-19

          Oklahoma requires citizens who want to vote by mail to overcome a series of sequential

   obstacles. First, if a voter’s absentee ballot is not accompanied by a notarized affidavit, it is

   rejected. Okla. Stat. tit. 26, § 14-108. Oklahoma further forbids a notary from notarizing more than

   20 ballots in an election outside her place of business. Id. § 14-108.1. 1

          Second, Oklahomans who mail in their ballots must pay for postage. For those fortunate to

   have unlimited mobility and reasonable financial resources, this may not seem like much. But for

   many others, this is a true barrier to voting. In addition to the cost of stamps, the Postage

   Requirement presents several challenges that are insurmountable for some voters, particularly

   during the pandemic. These are detailed in Meredith ¶¶ 84–94. While many states have used

   election funds provided under the CARES Act to provide prepaid postage, Oklahoma has




          1
           Historically, the only exceptions have been for physically incapacitated voters and those
   who care for them, who instead must obtain two witness signatures (the “Witness Alternative
   Requirement,” id. § 14-113.2(A)). Voters using this exception must return ballots by mail—in-
   person delivery is not permitted. Id. §§ 14-108(A), 14-113.2(A).
                                                     5
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   refused―even though, as the Secretary of the Election Board acknowledges, the State has not

   spent all of its CARES funds. Ziriax Dep. 154:6-8.

          Third, Oklahoma rejects mail ballots received after 7:00 p.m. on Election Day, regardless

   of whether factors outside a voter’s control—such as USPS delivery delays—caused the ballot to

   arrive late. See Okla. Stat. tit. 26, § 14-104. This requirement has had dire consequences. In the

   June primary alone, the absentee ballots of 2,385 Oklahomans arrived after the deadline and were

   not counted. Meredith ¶ 62 (Table 5). Over the past four years, more than 6,394 voters have been

   disenfranchised by this requirement. Id. For many reasons, the deadline is virtually certain to

   disenfranchise thousands more this November. Oklahoma law allows voters to request absentee

   ballots up to a week before Election Day. But in the current circumstances, ballots requested a

   week before the election are unlikely to make it to a voter by mail in time to be returned through

   the mail by the deadline. Stroman ¶¶ 11–15. Indeed, the two-week round-trip that USPS is

   anticipating establishes that even ballots requested two weeks before Election Day are at high risk

   of being voided by the deadline. It is thus highly likely that thousands of ballots will arrive after

   November 3 and will not be counted—especially when ballots are sent to a voter a week before

   the election. See Ziriax 31:6–33:10 (“I can’t disagree with your math[.]”). The system is designed

   to fail, and the expected surge in absentee voting will lead to unprecedented numbers of

   disenfranchised voters in November. Meredith ¶ 68; Stroman ¶¶ 6, 10, 16, 18; Ziriax 72:6–73:3.

   This will shatter public confidence in the fairness and integrity of Oklahoma’s elections.

          Fourth, with limited exception, Oklahoma also prevents anyone but the voter from mailing

   or returning her ballot, even where a home-bound voter asks her adult child or a friendly neighbor

   to deliver the ballot. See Okla. Stat. tit. 26, § 14 108(A). As of this May, the adult child, friendly

   neighbor, or anyone else who assists a voter in returning a ballot is subject to criminal prosecution.



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          B.      The Oklahoma Supreme Court invalidates the Notarization Requirement, and
                  the State immediately responds by imposing burdensome new restrictions.

          Three months into the pandemic, the Oklahoma Supreme Court ordered the Secretary to

   recognize as valid affidavits made under the provisions of state perjury statutes (Okla. Stat. tit. 12,

   § 426), in effect striking down the Notarization Requirement. LWV, 463 P.3d at 524. Within three

   days, the Governor had signed S.B. 210, which reinstated the Notarization Requirement and

   created the Photo ID Alternative Requirement, which allows voters to avoid either the Notarization

   Requirement or the Witness Alternative Requirement if they sign their ballot affidavit under

   penalty of perjury and submit with it a photocopy of a photo ID. Okla. Stat. tit. 26, § 7-114. 2

          The Photo ID Alternative Requirement imposes its own equally unjustifiable burdens on

   Oklahomans’ right to vote. Many voters now must leave their homes to make copies of their ID,

   forcing them to interact with others and increase their health risks. Meredith ¶¶ 22, 36, 54-58;

   Habrock ¶¶ 20, 22–23. And, unlike in-person voters who can sign an affidavit or vote

   provisionally, voters without documentation cannot vote by mail. Nor did the Legislature stop at

   the “Amended Notarization Requirement.” S.B. 210 also had ramifications for the Witness

   Alternative. In S.B. 210, the Legislature temporarily amended the definition of “physically

   incapacitated” 3 to include a narrow sliver of voters affected by COVID-19. See S.B. 210, § 3(C).

   Under these provisions, Oklahomans who actively have or may have COVID-19, and those who

   are at a severe risk of illness or death if exposed to the virus, now must get their ballots witnessed



          2
             A qualifying photo ID must contain a name, photograph, and expiration date after the
   election, and be issued by “the United States, the State of Oklahoma or the government of a
   federally recognized Indian tribe or nation.” Id. A “voter identification card issued by the
   appropriate county election board” also counts. Id.
          3
             A physically incapacitated voter must be “physically unable to vote in person at the
   precinct on the day of the election.” Okla. Stat. tit. 26, § 14-110.1.


                                                     7
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   by two other people, provide a copy of their photo ID, or vote in person. Id. In the midst of the

   pandemic, these heath-compromised voters will often fail to find two witnesses willing to risk

   exposure to the virus to assist. Their only option will be to break quarantine to obtain a copy of

   their ID or vote in person. 4

           The Witness Alternative Requirement also imposes an especially pronounced burden on

   physically incapacitated voters in long-term care facilities and retirement homes who are at higher

   risk from COVID-19. See Troisi ¶ 13. S.B. 210 requires “a designated official” at nursing homes

   and veterans’ centers to serve as a witness for ballot affidavits. S.B. 210, § 3(B). According to the

   Secretary, these ballots still require two witnesses (Ziriax 93:7–94:5), creating a heightened risk

   in the most vulnerable facilities. And unlike nursing homes and veterans’ centers, the law has no

   carveout for other long-term care facilities or retirement homes. Thus, physically incapacitated

   voters at those locations still must find two other residents or staffers willing to violate social

   distancing measures and handle the voters’ ballots in order to exercise their right to vote.

           The Legislature went even one step further by enacting S.B. 1779. As of May 21, it became

   a felony to return 10 or more sealed and voted absentee ballots on behalf of voters, and a

   misdemeanor to do the same with fewer than 10. S.B. 1779, §§ 1(A)(2), B(1), (5), 12, 14.

   Oklahoma thus has criminalized the process of assisting voters during the worst national public-

   health emergency in over a century, at a time when voters desperately need such assistance. Id. 5


           4
             More than 416,000 people in Oklahoma live in households with fewer than three adults,
   at least 166,000 of whom are age 65 and older. Ex. 6. Those voters cannot rely on members of
   their household to serve as witnesses and will have no choice but to venture out of quarantine or
   invite others in, and in the process risk exposure to COVID-19 in order to vote.
           5
             There are very limited exceptions. According to S.B. 1779 § 1(B), illegal “ballot
   harvesting” does not include (1) a voter’s assistant or agent under Title 26 of the Oklahoma
   Statutes; (2) assistance by an absentee voting board member given to a nursing home or veterans
   center resident; (3) employees of the Federal Voting Assistance Program facilitating voting by the


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   The law also created a new ballot request criminalization provision, which makes it a felony in

   most circumstances even to request 10 or more absentee ballots for eligible voters, and a

   misdemeanor to request fewer than 10. 6

          C.      Oklahoma’s June 30th election

          The June 30th election demonstrated that the State lacks sufficient safe options for many

   voters. While Oklahoma experienced an increase in mail ballots cast, the increase was significantly

   smaller than in other states. Meredith ¶ 26. Despite the “expanded” availability of the “physically

   incapacitated” exception, the number of voters claiming the exception significantly decreased in

   June compared to March (from 27% to 14% of mail ballots). Id. ¶¶ 39, 41. Meanwhile, poll

   workers, many senior citizens, were faced with a heightened danger for transmission of COVID-

   19 due to the prospect of being in close proximity to voters and other poll workers. See Troisi ¶ 20.

          Those who did choose to vote by mail had to overcome the challenged provisions, and

   thousands were disenfranchised by them, as described above. Ziriax 40:7–15. The additional

   transactional costs imposed by the challenged provisions were unjustifiable even before the

   pandemic: Oklahoma has historically had unusually high rates of unreturned ballots—described

   as the “attrition” rate—as compared to neighboring states. Meredith ¶¶ 38, 59. But the return

   attrition rate became more severe in the June election (climbing to 30%), as did the rate of

   rejections of returned ballots. Id at ¶¶ 39, 62. Despite these spikes, the State has made no inquiry

   into why tens of thousands of ballots were not returned, nor has it adopted any policies to reduce



   Department of Defense or Oklahoma National Guard; (4) a spouse, relative in the first or second
   degree of consanguinity or affinity or cohabitant of a voter who forwards an absentee ballot to the
   voter when absent from the home; (5) a voter’s spouse; and (6) election officials.
          6
             There are exceptions for physically incapacitated or emergency incapacitated voters,
   whose “assistant or agent” may request one on their behalf; for an absentee voting board member
   who assists a voter confined to a nursing home or veterans’ center; and for an election official
   taking official action authorized by law. See S.B. 1779, §§ 1(A)(1)–(4), (B)(1), 12, 14.
                                                    9
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   the number of ballots that will be rejected in November. Ziriax 40:16–20, 56:1–10.

                                     STANDARD OF DECISION

          Plaintiffs must demonstrate (1) they are substantially likely to succeed on the merits; (2)

   they will suffer irreparable injuries absent an injunction; (3) their injuries will outweigh burdens

   Defendants might face because of an injunction; and (4) an injunction is in the public interest.

   N.M. Dep’t of Game & Fish v. U.S. Dep’t of the Interior, 854 F.3d 1236, 1246 (10th Cir. 2017).

                                              ARGUMENT

   I.     PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS.

          A.      The Amended Notarization Requirements impose severe burdens on voters.

          The Amended Notarization Requirements unduly burden the right to vote by imposing

   multiple barriers to casting a mail ballot, particularly during this pandemic. Under the Anderson-

   Burdick test used to evaluate federal constitutional challenges to state voting restrictions, courts

   must “weigh ‘the character and magnitude of the asserted injury to the rights . . . that the plaintiff

   seeks to vindicate’ against ‘the precise interests put forward by the State as justifications for the

   burden imposed by its rule,’” considering “‘the extent to which those interests make it necessary

   to burden the plaintiff’s rights.’” Burdick v. Takushi, 504 U.S. 428, 434 (1992) (quoting Anderson

   v. Celebrezze, 460 U.S. 780, 788–89 (1983)). Anderson-Burdick is a sliding scale, where “the

   rigorousness of [the court’s] inquiry . . . depends upon the extent to which a challenged regulation

   burdens [voting] rights.” Burdick, 504 U.S. at 434. “The more a challenged law burdens the right

   to vote, the stricter the scrutiny to which [federal courts] subject that law.” Democratic Exec.

   Comm. of Fla. v. Lee, 915 F.3d 1312, 1318, 1319 (11th Cir. 2019). Thus, when voting rights are

   subject to a “severe” burden, the challenged restriction must be “narrowly drawn to advance a state

   interest of compelling importance.” Norman v. Reed, 502 U.S. 279, 289 (1992). Less severe

   burdens remain subject to balancing; “[h]owever slight” the burden on voting rights “may appear,”

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   “it must be justified by relevant and legitimate state interests ‘sufficiently weighty to justify the

   limitation.’” Crawford v. Marion Cty. Election Bd., 553 U.S. 181, 191 (2008) (controlling op.). In

   evaluating burdens, a court must focus on both the burdens on the electorate generally, and on the

   individuals directly impacted by the law. See id. at 201–02.

          The restrictions’ severe burdens. The Oklahoma Supreme Court has specifically rejected

   the Notarization Requirement as an unnecessary burden on voters because Oklahoma law allows

   affidavits to be made under penalty of perjury. LWV, 463 P.3d at 524. Other courts have recognized

   the unjustifiable burdens that witness and notarization requirements place on voters, enjoining or

   modifying those requirements for at least the duration of the pandemic. 7




          7
             See, e.g., Common Cause R.I., 2020 WL 4579367, at *2 (concluding “the incremental
   interest in the specific regulation at issue (the two-witness or notary rule) is marginal at best”);
   Libertarian Party of Ill. v. Pritzker, No. 20-cv-2112, 2020 WL 1951687 (N.D. Ill. Apr. 23, 2020)
   (applying Anderson-Burdick in light of pandemic, and alleviating signature and witnessing
   requirements for minor party candidates), stay denied pending appeal, No. 20-1961 (7th Cir. June
   21, 2020); Thomas v. Andino, Nos. 3:20-cv-01552-JMC & 3:20-cv-01730-JMC, 2020 WL
   2617329, at *21 (D.S.C. May 25, 2020) (finding “strong likelihood that the burdens placed upon
   [plaintiffs] by” witness signature requirement “outweigh the imprecise, and (as admitted by
   [defendants]) ineffective, state interests of combating voter fraud and protecting voting integrity”);
   League of Women Voters of Va. v. Va. State Bd. of Elections, No. 6:20-CV-00024, 2020 WL
   2158249, at *8 (W.D. Va. May 5, 2020) (“The Constitution does not permit a state to force” voters
   to choose “between adhering to guidance that is meant to protect not only their own health, but the
   health of those around them, and undertaking their fundamental right—and, indeed, their civic
   duty—to vote in an election.”). The Eleventh Circuit upheld a district court’s suspension of
   Alabama’s witness and photo ID requirements for voters at high risk of complications from
   COVID-19; two of the judges issued a careful concurring opinion explaining all the reasons to
   enjoin witness-certification requirements during this pandemic. People First of Ala. v. Sec’y of
   State of Ala., No. 20-12184, 2020 WL 3478093, *1–*9 (11th Cir. Jun. 25, 2020) (Rosenbaum and
   Pryor, JJ., concurring), stayed, No. 19A1063, 2020 WL 3604049 (U.S. July 2, 2020). Although
   the Supreme Court stayed that decision in a one-paragraph order, Alabama’s lead argument for a
   stay rested squarely on Purcell grounds and had nothing to do with the merits. Specifically, the
   district court issued its injunction on June 15 for an upcoming July 14 runoff, and the injunction
   applied only in 3 of Alabama’s 67 counties. Id. Neither of those factors apply here. There is
   comparatively much more time, and Plaintiffs seek uniform statewide relief.

                                                    11
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          In fact, Oklahoma virtually ensures that voters who are actively infected with COVID-19,

   but who lack a means to make a photocopy of their ID, must come into contact with at least two

   other people to exercise their right to vote. Requiring known infected voters or those under

   instruction to self-isolate to interact with two witnesses is a severe burden on the right to vote

   because it will be difficult, and often impossible, for these voters to find the necessary witnesses.

   But the potential for exposure is unnecessarily high for a host of voters, not just those infected or

   possibly infected with the virus. Uninfected voters who do not have a required form of ID, or who

   do but lack a photocopier, must venture out to satisfy the Photo ID Alternative. Habrock ¶ 22;

   Meredith ¶ 36; Troisi ¶¶ 2, 30.

          Many voters will also be confused or unaware that an exception applies to them, in part

   because the State Board does not communicate to voters what must accompany a ballot for it to

   count. Meredith ¶¶ 44-45. The Secretary admitted his office has not offered any interpretations of

   what the “physically incapacitated” provisions mean or issued regulations relating to the same,

   and has no plans to do so. Ziriax 116:15–117:3. Data from the primary demonstrate that voters are

   confused by what “physically incapacitated” means. Meredith ¶¶ 46–47. The percentage of voters

   who designated themselves as “physically incapacitated” dropped from the March 2020 election

   to the June election. Id. More disturbing, the decline in the percentage of mail-ballot voters who

   designated themselves physically incapacitated was the highest among voters over 70, all of whom

   the CDC classifies as high-risk if infected with COVID-19. Id. ¶ 46.

          The Amended Notarization Requirements thus impose severe burdens on large numbers of

   voters, from disenfranchisement to risk of illness and death. The rate of unreturned and rejected

   ballots is constitutionally inexcusable, as it demonstrates that each eligible voter is not being given

   a reliable path to cast a vote. Frank v. Walker, 819 F.3d 384, 386 (7th Cir. 2016) (“[T]he right to



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   vote is personal and is not defeated by the fact that 99% of other people” are not seriously

   impacted.); cf. Luft v. Evers, 963 F.3d 665, 677, 679 (7th Cir. 2020) (holding “each eligible person

   must have a path to cast a vote[,]” which requires State to “ensure[ ] that every eligible voter can”

   comply with law with reasonable effort as part of a “reliably implemented” process). 8 “If

   disenfranchising thousands of eligible voters does not amount to a severe burden on the right to

   vote, then [it is not clear] what does.” Fla. Democratic Party v. Detzner, No. 4:16cv607-MW/CAS,

   2016 WL 6090943, at *6 (N.D. Fla. Oct. 16, 2016). The Amended Notarization Provisions should

   thus be evaluated using strict scrutiny. Id.

          Lack of justification. Regardless of the standard applied, the drastic burdens imposed by

   the Amended Notarization Requirements far outweigh any state interest in applying them,

   particularly in the current pandemic.

          No precise state interests are articulated for the Notarization or Witness Requirement, save

   for “confirming the identity of the voter” (an interest sufficiently accomplished through self-

   executing affidavits). Ziriax 109:1-5. The perennial yet unsubstantiated risk of “voter fraud”

   carries little weight under the circumstances. Indeed, Secretary Ziriax concedes “voter fraud is

   exceptionally rare in Oklahoma and not a major issue here[.]” Id. at 108:6-22. Nor is it an issue

   elsewhere, even where the relief Plaintiffs’ seek is used. Meredith ¶¶ 103-05 (“[T]he evidence

   shows that almost no voter fraud is committed using mail ballots.”). 9


          8
             These burdens are not be distributed equally, but fall disproportionately on lower income
   voters, students, minorities, those over 65, and those with other high-risk factors for COVID-19.
   See Meredith ¶¶ 88, 94; Troisi ¶¶ 13–14, 28; McAfee ¶ 10.
          9
              The First Circuit was slightly off in recently stating Rhode Island “may be the lone state”
   that still has a notary-or-two-witness rule. Common Cause R.I., 2020 WL 4579367, at *2 (noting
   specter of “fraudulent [mail] ballots” is “surely correct as a matter of theory. But it is dubious as a
   matter of fact and reality”); see also League of Women Voters of N.C. v. North Carolina, 769 F.3d
   224, 246 (4th Cir. 2014) (explaining “states cannot burden the right to vote in order to address

                                                     13
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          As for the Notarization Requirement, it has already been invalidated by the Oklahoma

   Supreme Court. LWV, 463 P.3d at 524. The addition of the Photo ID Alternative does not change

   the calculus. The Amended Notarization Requirements provide little, if any, additional protection

   against fraud. Meredith ¶¶ 3, 98, 106. The State allows UOCAVA voters to self-authenticate their

   ballots via affidavit. Ziriax 110:8-13. See also People First of Ala. v. Merrill, No. 2:20-cv-000619-

   AKK, 2020 WL 3207824, at *18 (N.D. Ala. June 15, 2020) (noting “[t]he state has not explained

   why, consistent with its interest in preventing voter fraud, it can exempt” some voters and not

   others from a photo ID requirement) (the subsequent history of this case is described in full in

   footnote 7 above). The Secretary is not aware of any instances of voter fraud in Oklahoma related

   to these self-authenticating ballots. Ziriax 139:18-140:1. And although Oklahoma is one of only a

   few states that require notarization or the signatures of two witnesses, there is no evidence that the

   states without such requirements suffer from increased voter fraud. 10

          Finally, Oklahoma has multiple, strict voter fraud laws that deter and punish the acts that

   could give rise to voter fraud. See, e.g., Okla. Stat. 26 §§ 16-102, 16-102.2; 16-103, 16-105,

   16-113. The burdens imposed by the Amended Notarization Requirements are thus unnecessary.

   See Common Cause Ind. v. Individual Members of Ind. Election Comm’n, 800 F.3d 913, 928 (7th




   dangers that are remote and only ‘theoretically imaginable,’” such as threats to “electoral integrity
   and fraud prevention,” with little to no evidence that such dangers exist); Paher v. Cegavske, No.
   3:20-cv-00243-MMD-WGC, 2020 WL 2089813, at *1 (D. Nev. Apr. 30, 2020) (“[The State’s]
   interests in protecting the health and safety of Nevada’s voters and to safeguard the voting
   franchise in light of the COVID-19 pandemic far outweigh any burden . . . premised on a
   speculative claim of voter fraud.”).
          10
             Alabama, North Carolina, Rhode Island, Mississippi, and Missouri are the others. See
   Ala. Code § 17-9-30(b); see also “Voting Outside the Polling Place: Absentee, All Mail and other
   Voting     at    Home       Options,”      NCSL,   https://www.ncsl.org/research/elections-and-
   campaigns/absentee-and early voting.aspx; Election Fraud Cases, The Heritage Found.,
   https://www.heritage.org/voterfraud/search?state=OK (listing five instances of voter fraud, only
   two related to absentee voting, in past 13 years).
                                                    14
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   Cir. 2015) (asserted state interests cannot outweigh burdens where they can “be served through

   other means, making it unnecessary to burden the right to vote”).

           B.      The Election Day Receipt Deadline is unconstitutional.

           Plaintiffs also are likely to succeed on their claim that the Election Day Receipt Deadline

   burdens the right to vote under Anderson-Burdick as well as a due process analysis. “There is more

   to the right to vote than the right to mark a piece of paper and drop it in a box or the right to pull a

   lever in a voting booth. The right to vote includes the right to have the ballot counted.” Reynolds

   v. Sims, 377 U.S. 533, 555 n.29 (1964) (citation and quotation marks omitted, emphasis added).

   The deadline violates the fundamental right to vote by rejecting absentee ballots cast by lawful,

   registered voters prior to Election Day, simply because the mailed ballots arrive after.

           A federal district court in Wisconsin, faced with a surge in absentee voting and credible

   predictions of a breakdown in USPS service, recently extended an election-day receipt deadline

   by six days, saving the votes of nearly 80,000 citizens who cast valid ballots that were postmarked

   on or before Election Day but arrived in the days following due to delayed mail service. See DNC

   v. Bostelmann, Civ. No. 20-cv-249-wmc, 2020 WL 1638374, at *17 (W.D. Wis. Apr. 2, 2020),

   stayed in part sub nom. DNC v. RNC, Nos. 20-1538 & 20-1546, 2020 WL 3619499 (7th Cir. Apr.

   3, 2020), stayed in part, 140 S. Ct. 1205 (2020); see Ex. 8. The Seventh Circuit and Supreme Court

   narrowed the injunction in other respects, including by requiring that all after-received ballots must

   be postmarked on or before Election Day, but both not only left the six-day extension of the receipt

   deadline intact, but approvingly relied on it in rejecting other requested relief. See 140 S. Ct. at

   1207-08 (relying on “fact that the deadline for receiving ballots was already extended . . . to ensure

   [voters] can cast their ballots and have their votes count” in denying additional time to vote); 2020

   WL 3619499, at *2 (finding extension of ballot-receipt deadline would give quarantined voters

   additional time to comply with witness requirements). The Supreme Court expressed no concerns
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   about “afford[ing] Wisconsin voters several extra days in which to mail their absentee ballots,” so

   long as those ballots were “postmarked by election day.” 140 S. Ct. at 1206. That is precisely the

   sort of “postmark” rule Plaintiffs seek here. 11

          The Anderson-Burdick analysis is compellingly one-sided. The burdens on individual

   voters are evident: outright disenfranchisement. Even before the pandemic, the Deadline resulted

   in the rejection of thousands of Oklahoma voters’ ballots. Meredith ¶ 62 (Table 5). With the

   expected surge in absentee voting and increasing USPS dysfunction, see McAfee ¶ 13, the number

   of rejected ballots will only increase in November. Moreover, the experience in Wisconsin and

   elsewhere demonstrates that modest extensions in ballot-receipt deadlines can be implemented

   manageably     and    with    minimal    administrative    burden    while    avoiding    widespread

   disenfranchisement. 12 No one has pointed to any evidence that these extensions have led to voter

   fraud or other systemic problems and in fact, the Secretary is confident that ballots arriving by at

   least the Friday after an election would be counted, eliminating any state burden. Ziriax Dep.

   106:14-107:9. On top of that, turnout will be vastly larger in November, election officials are likely

   to be overwhelmed, and USPS will at best continue to face widespread challenges in providing

   timely election-mail service.

          The Deadline is also, for many voters, an unexpected burden. Many other deadlines in their

   lives are postmark deadlines. See, e.g., Okla. Stat. tit. 68, § 221.1(A) (postmark deadline for tax


          11
              “Postmark” refers to any type of imprint applied by USPS to indicate the location and
   date it accepts custody of a piece of mail, including bar codes, circular stamps, or other tracking
   marks, and, where a ballot does not bear a postmark, requires the State to presume the ballot was
   mailed on or before Election Day unless the preponderance of evidence demonstrates otherwise.
          12
             A least 14 other states and D.C. follow a “postmark” rule (or close variant), requiring
   ballots that arrive in the days following an election to be counted so long as they are timely
   postmarked. See Nat’l Conference of State Legislatures, VOPP: Table 11: Receipt and Postmark
   Deadlines for Absentee Ballots, (June 15, 2020), https://www.ncsl.org/research/elections-and-
   campaigns/vopp-table-11-receipt-and-postmark-deadlines-for-absentee-ballots.aspx.

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   returns and payments). Even when registering to vote, the cutoff for mailed applications is a

   postmark date. Ziriax 52:21-53:6. The Secretary is unaware of any issues or problems the State

   has with relying on a postmark date in this context. Id. at 53:15-54:2. But when it comes time to

   vote, voters must simply guess at the appropriate date to mail their ballot and trust the mail service

   will be timely. Moreover, they must guess as to the appropriate time to begin the process of

   applying for an absentee ballot, in addition to scheduling their witness or notary. Any misstep that

   causes the ballot to be received by local election officials after Election Day results in automatic

   rejection, even if the voter was not at fault for the delay in the mails. This is constitutionally

   intolerable. See Ne. Ohio Coal. for Homeless v. Husted, 696 F.3d 580, 597 (6th Cir. 2012)

   (“NEOCH”) (finding likely constitutional violation after state failed to identify “precise interests”

   justifying “substantial burden” when ballots were rejected due to no fault of the voter).

          The State has no adequate justification for discarding ballots mailed by voters by Election

   Day. By the Secretary’s own admission, extending the Deadline would not jeopardize the State’s

   ability to finalize election results. See Okla Stat. tit. 26, § 7-136. Moreover, Oklahoma law requires

   that absentee ballot results shall not be announced earlier than 7:00 p.m. on Election Day, and

   provisional ballots are not counted and added to the election results until at least the Friday

   following the election (a deadline that may be extended). Id. § 7-116.1(E). Vote-by-mail ballots

   that arrive after Election Day could easily be added to this total and be completed by the Friday

   after the election, as Secretary Ziriax has confirmed. Ziriax 106:14-107:9. 13

          There is yet another, related constitutional objection to the Deadline: as it is being applied,

   it violates citizens’ liberty interests in their votes without due process of law. Procedural due



          13
            In the June election, 87% of late-received ballots arrived by the Friday after the election.
   Meredith ¶ 64. Counting them would impose little if any administrative burden for reasons stated.

                                                    17
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   process analysis requires consideration of (1) “the private interest” affected; (2) “the risk of an

   erroneous deprivation” of that interest through current procedures; (3) and the “probable value . . .

   of additional or substitute procedur[es],” taking into account the “administrative burdens” such

   procedures would entail. McDonald v. Wise, 769 F.3d 1202, 1213 (10th Cir. 2014) (quoting

   Mathews v. Eldridge, 424 U.S. 319, 335 (1976)). The voters’ interests, and the procedural

   requirements of due process extend to absentee voting. 14 We have discussed the “probable value”

   of a slight extension of the Receipt Deadline above and shown that the administrative burdens

   would be modest. That leaves “the risk of an erroneous deprivation.” USPS itself has warned that

   Oklahoma voters are at “high risk” of not having their mailed ballots counted, and the experience

   in Wisconsin and other states shows the growing risks that thousands—perhaps tens of

   thousands—of mailed ballots may be rejected because of slow mail service and other factors that

   voters cannot control. Unlike Oklahoma’s deadline to vote in-person, which is clear—to

   participate, you must join the line by 7:00 p.m.—the Receipt Deadline provides no bright-line rule

   to ensure an absentee ballot that is requested, cast, and mailed back will be counted. That time is

   a constantly moving target, changing depending on elections officials’ workloads and response

   times in mailing out requested ballots, the vagaries of USPS, and conflicting advice and guesswork

   by various public officials. This is a constitutionally indefensible way to run an election.

          C.      The Absentee Assistance Criminalization provisions are unconstitutional.

          The Absentee Assistance Criminalization provisions impose staggering burdens on the



          14
              See Martin v. Kemp, 341 F. Supp. 3d 1326, 1338 (N.D. Ga. 2018), appeal dismissed sub
   nom. Martin v. Sec’y of State of Ga., No. 18-14503-GG, 2018 WL 7139247
   (11th Cir. Dec. 11, 2018); Saucedo v. Gardner, 335 F. Supp. 3d 202, 217 (D.N.H. 2018); Raetzel
   v. Parks/Bellemont Absentee Election Bd., 762 F. Supp. 1354, 1358 (D. Ariz. 1990); see also Fla.
   State Conference of N.A.A.C.P. v. Browning, 522 F.3d 1153, 1183 (11th Cir. 2008) (“When an
   election process ‘reache[s] the point of patent and fundamental unfairness,’ there is a due process
   violation.”) (citation omitted).
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   Oklahoma voters who most need assistance by criminalizing the actions of good Samaritans and

   others who want to assist these voters. The hastily enacted provisions are rife with ambiguities that

   only compound the burdens and, according to the Secretary, will require individual legal analysis

   to be conducted by the Board. Ziriax 130:1-134:22. Oklahoma’s interests in these restrictions are

   minimal and pale in comparison to their burdens—particularly in the present pandemic.

          Criminalization burdens. It is now a felony for Plaintiffs to request 10 or more absentee

   ballots for eligible voters who need assistance to vote by mail, and a misdemeanor to do the same

   for fewer than 10 absentee ballots. 15 This reduces access to vote-by-mail opportunities on which

   many voters and prospective voters reasonably—and now in a pandemic, necessarily—rely. It

   drastically shrinks, if not outright eliminates, the pool of persons and organizations who can assist

   a voter in requesting a ballot. That task can be particularly challenging for subsets of voters

   including language minorities, the disabled, those vigilantly social distancing to prevent

   contracting COVID-19 or spreading it to a vulnerable close contact, and those without ready access

   to mailboxes (including Native Americans), transportation, or the Internet. See League of Women

   Voters of Fla., Inc. v. Detzner, 314 F. Supp. 3d 1205, 1216–17 (N.D. Fla. 2018) (“Disparate impact

   matters under Anderson-Burdick.”); Meredith ¶ 96. Many organizations, including Plaintiffs, want

   to help voters request absentee ballots. Newman ¶¶ 9-12; Andrews ¶¶ 8-10; Habrock ¶ 18. But

   now they cannot do so without risking felony prosecution.

          Absentee Assistance Ban and Criminalization burdens. The Ban prevents anyone but


          15
              As noted earlier, there are exceptions for a physically incapacitated or emergency
   incapacitated voter, whose “assistant or agent” may request am absentee ballot on their behalf in
   person, but only at the office of the county election board. See Okla. Stat. tit. 26, §§ 14-
   101.1(A)(4), 16-104.1,16-126. Other exceptions exist for an absentee voting board member who
   assists a voter confined to a nursing home or veterans’ center, as well as for an election official
   taking official action authorized by law. See S.B. 1779, §§ 1(A)(1)-(4), (B)(1), 12, 14.


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   the voter from mailing or returning his or her absentee ballot, see Okla. Stat. tit. 26, §§ 14-

   101.1(A)-(B), 14-108(A); Okla. Admin. Code § 230:30-11-1.1(a), except that a voter’s spouse

   may return the ballot “by mail” (but apparently not in person). Okla. Stat. tit. 26, § 14-101.1(A)(1),

   (2), (B)(5). 16 The new Absentee Assistance Criminalization rule now makes it a felony for anyone

   to return or work with others to return 10 or more sealed and voted absentee ballots for voters

   requiring assistance, and a misdemeanor to do so with 10 or less ballots. Id. §§ 16-104.1, 16-126.

          A voter who does not meet (or is unable to ascertain) the narrow definition of “physically

   incapacitated” and does not have a spouse is the only person that can return their ballot. Ziriax

   155:3-16. Thus, most potential voters can only receive assistance returning a ballot from a spouse,

   and even then it must be mailed. This irrational and punitive rule subjects the ballot to the

   pandemic-induced delays and USPS delays, and increases the burdens on those who lack easy

   access to a mailbox. Meredith ¶¶ 95-97. Unmarried and widowed voters must mail or return their

   ballot themselves. Even single parents cannot ask their own children to mail or return their ballots

   for them. For voters with disabilities, who are social distancing or self-quarantining, or who lack

   ready access to postage or transportation, the burdens are severe and potentially prohibitive.

   Moreover, combined with the potential for mail delays and the disenfranchising effects of the

   Receipt Deadline, voters who receive their ballots close to Election Day will have no choice but

   to hand-deliver their ballot to the county board and present proof of identity—necessitating contact

   with election officials in a pandemic. See Okla. Stat. tit. 26, § 14-108(C). At best, this will force



          16
             It is unclear whether a “physically incapacitated” voter may use an “agent” (other than a
   spouse) to return his ballot. Although Okla. Stat. tit. 26, § 14-110.1 allows an agent to assist a
   physically incapacitated voter in applying for an absentee ballot, there appears to be no comparable
   provision addressing an agent’s return of a ballot unless the voter is emergency incapacitated. Id.
   § 14-115.1; see also S.B. 210 § 3(C) (amending definition of “physically incapacitated” for
   “purposes of requesting an absentee ballot described in” Okla. Stat. tit. 26, § 14-110.1) (emphasis
   added). This ambiguity enhances the burdens imposed on the most vulnerable voters.
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   many voters to choose between jeopardizing their health and exercising their right to vote. At

   worst, the rules ensure disenfranchisement.

          Organizers and volunteers with political organizations and civic groups, such as Plaintiffs

   and CAIR-OK, are critical to fill this assistance gap. But Oklahoma now bans and criminalizes all

   that activity, restricting the pool of potential help available to absentee voters and chilling the

   speech and associational rights of Plaintiffs and other organizations that would otherwise engage

   in absentee voter drives and provide this vital assistance for accessing the franchise, but for the

   threat of felony prosecution. Habrock ¶ 18; Newman ¶¶ 9-12; Andrews ¶¶ 8-10; McAfee ¶ 15. The

   Ban makes it needlessly difficult for certain voters to receive help designed to avoid this type of

   disenfranchisement, including those who live alone or have no family members willing or able to

   deliver ballots, and minority and low-income voters, who face greater rates of disenfranchisement

   from the current Receipt Deadline and thus stand to benefit the most from organized assistance.

   Habrock ¶¶ 14-18; Newman ¶¶ 9, 11; Andrews ¶ 9. Beyond returning ballots, trained professionals

   can also remind voters to sign their ballots—a misstep that unintentionally disenfranchises

   hundreds each year, especially first-time mail voters. Habrock ¶¶ 13-15.

          State interests. Because the Absentee Assistance Criminalization provisions are so severe,

   they “must be narrowly drawn to advance a state interest of compelling importance.” Norman, 502

   U.S. at 289. Defendants cannot come close to making such a showing. The State has an interest in

   ensuring that voters lawfully mark their own ballots and that the ballots are returned, not in

   preventing others from assisting voters in requesting a ballot or returning it once it is sealed and

   voted and enclosed within three sealed envelopes. Oklahoma has a host of laws tailored to these




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   specific interests, and the prevention of fraud generally. 17

          Given these numerous existing safeguards for ballot assistance, there is no justification for

   the burdens the challenged restrictions impose under any circumstances, much less during a

   pandemic. See Yes on Term Limits, Inc. v. Savage, 550 F.3d 1023, 1030 (10th Cir. 2008) (holding

   Oklahoma’s ban on non-resident petition circulators unconstitutional as insufficiently tailored to

   further a compelling interest where, inter alia, “Oklahoma could provide criminal penalties”

   directly targeting fraudulent activity rather than banning non-resident circulators as a class);

   League of Women Voters of N.C., 769 F.3d at 246 (“states cannot burden the right to vote in order

   to address dangers that are remote and only theoretically imaginable,” such as “election integrity

   and fraud protection,” with little evidence such dangers exist) (quotation marks omitted).

          Core First Amendment activities. The Absentee Assistance Criminalization provisions

   should also be enjoined because they violate Plaintiffs’ speech and associational rights. Voter

   turnout efforts, including assisting voters in requesting and returning their sealed and voted

   absentee ballots, are important ways in which Plaintiffs support like-minded candidates,

   communicate with voters, and express their belief in the importance of electoral participation. See

   Newman ¶¶ 9-12; Andrews ¶¶ 8-10; Andrews 55:4-6, 56:9-15, 57:9-24. These are speech and

   associational activities going to the heart of the First Amendment. See Meyer v. Grant, 486 U.S.

   414, 420–24 (1988); Yes on Term Limits, 550 F.3d at 1028 (re “interactive communication

   concerning political change”). As one court recently observed in enjoining much less restrictive



          17
             These include making it a felony or misdemeanor to fill out another’s ballot without
   consent; execute a false application for a ballot; collect ballots under a false pretense of returning
   them to election officials; vote a ballot issued to another person; conspire to commit fraud or
   perpetuate fraud; influence the vote of another by means of force or intimidation; interfere with a
   voter attempting to vote; or interfere with the conduct of any election. See Okla. Stat. tit. 26, §§
   14-101.1(A)(3), (5), 16-102, 16-102.2, 16-104.1, 16-105, 16-113, 16-126.
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   absentee voter assistance prohibitions than Oklahoma’s, “[r]educing the number of individuals

   who could potentially provide assistance to potential voters, particularly those [who] a political

   party believes would support their candidate, diminishes the speech and associational rights of

   political organizations like” Plaintiffs. 18 Because the challenged provisions criminalize political

   expression and association, they should be enjoined.

          D.      The Postage Requirement is unconstitutional.

          The Postage Requirement imposes monetary costs and other burdens on voters, which are

   particularly severe this year when mail voting is likely to be the only safe method for many to

   exercise their right to vote. Supra at 3-4. These associated costs and burdens are detailed in

   Meredith ¶¶ 84-94. As demonstrated there, the Postage Requirement imposes significant burdens

   on casting a mail ballot on many voters who are elderly, disabled, live far from a post office, or

   have limited transportation options. See also McAfee ¶ 12; see generally Andrews 69:17-23.

          Oklahoma recognizes that postage is a burden on voters. That is why Oklahoma citizens

   living overseas and military personnel abroad need not pay for postage to return their completed

   absentee ballots by mail. Ziriax 147:4-8. Political science research shows that postage can be such

   a burden that potential voters do not vote, and turnout increases where postage is prepaid. Meredith

   ¶¶ 85-86. Failing to affix return postage is more likely to disenfranchise a potential voter when


          18
              DSCC v. Simon, 2020 WL 4519785 at 51 (Minn. Dist. Ct. Aug. 3, 2020). “The discussion
   of whether to vote absentee and to allow your ballot to be collected … inherently implicates
   political thought and expression” because “[u]ltimately, for political organizations, voter
   assistance walks hand in hand with their efforts to get individuals and groups, for whom they
   believe will support their candidates, to cast votes.” Id. at 52; see also, e.g., League of Women
   Voters v. Hargett, 400 F. Supp. 3d 706, 720 (M.D. Tenn. 2019) (“Encouraging others to register
   to vote is pure speech, and, because that speech is political in nature, it is a core First Amendment
   activity.”) (quotation marks and alterations omitted)); Am. Ass’n of People with Disabilities v.
   Herrera, 690 F. Supp. 2d 1183, 1202 (D.N.M. 2010) (“An organization’s attempt to broaden the
   base of public participation in and support for its activities is conduct ‘undeniably central to the
   exercise of the right of association.’”).

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   there is uncertainty over how much postage to apply. Id. ¶ 89. The State Board cannot answer this

   question. Id. Yet, prepaid postage is a feasible solution to the hurdles Oklahomans faces in voting

   safely in a pandemic. The State has no adequate justification for passing the burden of postage on

   to its citizens. This is purely a matter of administrative convenience, which cannot outweigh

   burdens on fundamental rights. See Taylor v. Louisiana, 419 U.S. 522, 535 (1975). Moreover,

   Congress has allocated $2.9 million for Oklahoma to use for coronavirus-related election expenses,

   which can be used to cover the cost of prepaying postage. Ziriax 153:7-15. 19

   II.    AN INJUNCTION IS REQUIRED TO AVOID IRREPARABLE HARM

          The challenged provisions, individually and collectively, put Plaintiffs’ members and

   constituents at great risk of disenfranchisement, plainly an irreparable injury. See, e.g., League of

   Women Voters of N.C., 769 F.3d at 247; Obama for Am. v. Husted, 697 F.3d 423, 436 (6th Cir.

   2012). “The denial of the opportunity to cast a vote that a person may otherwise be entitled to

   cast—even once—is an irreparable harm.” Jones v. Governor, 950 F.3d 795, 828 (11th Cir. 2020);

   see also Democratic Exec. Comm. of Fla. v. Lee, 915 F.3d 1312, 1321 (11th Cir. 2019) (“[I]t is a

   ‘basic truth that even one disenfranchised voter—let alone several thousand—is too many.’”

   (citation omitted)). Once an election occurs, “there can be no do-over and no redress.” League of

   Women Voters of N.C., 769 F.3d at 247. Moreover, “[s]erious, lasting illness or death” also



          19
               The Postage Requirement also violates the Twenty-Fourth Amendment, which provides
   that the right to vote “shall not be denied or abridged by the United States or any state by reason
   of failure to pay any poll tax or other tax,” see U.S. Const. amend. XXIV, § 1; see also Harman v.
   Forssenius, 380 U.S. 528, 539 (1965); Harper v. Va. State Bd. of Elections, 383 U.S. 663, 666
   (1966). “[V]oting cannot hinge on ability to pay . . . for it is a ‘fundamental political right . . .
   preservative of all rights.’” M.L.B. v. S.L.B., 519 U.S. 102, 124 n.14 (1996) (quoting Yick Wo v.
   Hopkins, 118 U.S. 356, 370 (1886)). This is true regardless whether a voter is able to pay. See
   Harper, 383 U.S. at 668 (finding imposition of a fee unconstitutional “whether the citizen,
   otherwise qualified to vote, has $1.50 in his pocket or nothing at all”). Oklahoma does what Harper
   prohibits: it conditions casting a mail ballot on paying a fee (i.e., postage).

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   constitutes irreparable injury. Thakker v. Doll, No. 1:20-cv-480, 2020 WL 1671563, at *4 (M.D.

   Pa. Mar. 31, 2020) (re potential exposure to COVID-19 virus). The challenged provisions also bar

   Plaintiffs, their members, and their constituents from participating in election-related activities,

   also causing irreparable harm. And Plaintiffs must divert time and resources from their mission-

   critical advocacy work. Newman ¶¶ 5-13; Andrews ¶¶ 6-10; Andrews Dep. 44:3-9, 15-16. Once

   the election cycle is over, these injuries to Plaintiffs and voters alike cannot be “undone through

   monetary remedies.” Cunningham v. Adams, 808 F.2d 815, 821 (11th Cir. 1987).

   III.   THE BALANCE OF EQUITIES AND PUBLIC INTEREST FAVOR AN
          INJUNCTION

          Defendants have no legitimate interest in enforcing unconstitutional laws. They face, at

   most, administrative inconveniences. But these cannot justify practices that impinge on

   fundamental rights. Taylor, 419 U.S. at 535; Kemp, 347 F. Supp. 3d at 1268. Some marginal gain

   in electoral efficiency, or the specter of hypothetical voter fraud, cannot justify severely burdening

   the right to vote or outright disenfranchisement. That is especially so for those made to face the

   “excruciating dilemma” of choosing between “ventur[ing] into public spaces, contrary to public

   directives and health guidelines or stay[ing] at home and los[ing] the opportunity to vote.”

   Bostelmann, 2020 WL 1320819, at *5.

          The public interest is best served by injunctive relief in cases like this because “[t]he public

   has a ‘strong interest in exercising the fundamental political right to vote.’” League of Women

   Voters of N.C, 769 F.3d at 248 (citations omitted); Obama for Am., 697 F.3d at 437.

                                             CONCLUSION

          For these reasons, and as further established in the accompanying declarations, exhibits,

   and deposition testimony, Plaintiffs respectfully request this Court to grant a preliminary

   injunction and to enter the proposed order that accompanies this brief.


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                                   CERTIFICATE OF SERVICE

           I hereby certify that on August 19, 2020, I electronically transmitted Plaintiffs’

    Memorandum in Support of Plaintiffs’ Motion for a Preliminary Injunction to the Clerk of Court

    using the ECF System for filing, which will transmit a Notice of Electronic Filing and a copy of the

    document to all counsel who have entered an appearance in this case.



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